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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 CHILD TRENDS, INCORPORATED, ET
 AL.,

        Plaintiffs,
                                                    Case No.: 8:25-cv-01154-BAH
 v.

 UNITED STATES DEPARTMENT OF
 EDUCATION, ET AL.,

        Defendants.


                  NOTICE OF FILING OF ADMINISTRATIVE RECORD

       Defendants, by and through undersigned counsel, Kelly O. Hayes, United States Attorney

for the District of Maryland, and Tianna Bethune and Ariana Arnold, Assistant United States

Attorneys for that District, hereby file a certified copy of the Administrative Record in this case.

Dated: June 24, 2025                                  Respectfully submitted,

                                                      Kelly O. Hayes
                                                      United States Attorney

                                                             /s/
                                                      Tianna Bethune
                                                      Ariana Arnold
                                                      Assistant United States Attorneys
                                                      36 S. Charles Street, Fourth Floor
                                                      Baltimore. Maryland 21201
                                                      410-209-4922
                                                      Tianna.Bethune@usdoj.gov
                                                      Counsel for Defendants
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 24th day of June, 2025, a copy of the foregoing Notice

of Filing of Administrative Record and accompanying document was served electronically on all

parties receiving service via CM/ECF in this case.




                                                            /s/
                                                     Tianna Bethune
                                                     Assistant United States Attorney




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